

Matter of Isaac B. (Crystal M.B.) (2019 NY Slip Op 08092)





Matter of Isaac B. (Crystal M.B.)


2019 NY Slip Op 08092


Decided on November 8, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 8, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., LINDLEY, NEMOYER, CURRAN, AND WINSLOW, JJ.


1104 CAF 18-00443

[*1]IN THE MATTER OF ISAAC B. GENESEE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; CRYSTAL M.B., RESPONDENT-APPELLANT. (APPEAL NO. 4.) 






DAVID J. PAJAK, ALDEN, FOR RESPONDENT-APPELLANT.
PAULA A. CAMPBELL, BATAVIA, FOR PETITIONER-RESPONDENT. 
MARY ANNE CONNELL, BUFFALO, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Genesee County (Eric R. Adams, J.), entered February 27, 2018 in a proceeding pursuant to Social Services Law § 384-b. The order, inter alia, terminated the parental rights of respondent with respect to the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Skyler B. (Crystal M.B.) ([appeal No. 1] — AD3d — [Nov. 8, 2019] [4th Dept 2019]).
Entered: November 8, 2019
Mark W. Bennett
Clerk of the Court








